                      SECOND DECLARATION OF ROBERT NITTI

          1.    I am Robert Nitti.     I am over eighteen years of age and
    I am competent to make this Declaration.
          2.    Planet Pizza never provided revenue to United American
    Holdings, Inc.     When Planet Pizza was started, my intent was to
    diversify from the tote bag business of United American Holdings,
    Inc., but the business did not develop in that way and Planet
    Pizza did not provide revenue to United American Holdings, Inc.
          3.    William Wallis did not unilaterally make decisions for
    United American Holdings, Inc. ("UAH").        United American
    Holdings, Inc.'s decision to outsource its marketing to a
    separate company had nothing to do with Chapter 11 bankruptcy.
    Neither Wallis nor I contemplated that United American Holdings,
    Inc. would file bankruptcy until January 2001 when we met with
    Attorney Gary M. Bowman.      Prior to meeting with Mr. Bowman, Mr.
    Wallis and I met with other attorneys and none of them suggested
    the possibility of reorganizing United American Holdings, Inc. in
    Chapter 11 bankruptcy.      Wallis and I merged Nitti Family
    Enterprises, Inc., which I alone owned, into UAH on the eve of
    UAH's bankruptcy filing in an attempt to reorganize and pay the
    creditors of both companies.       Wallis and I jointly owned UAH, and
    we jointly agreed to file Chapter 11 bankruptcy for UAH.
          4.    Tamara Nuckolls did not perform any bookkeeping while
    employed by any company with which I was connected, including UAH
    and NFE.
          5.    Lauren Sarwas was not involved in any way with UAH or

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    NFE.

            6.     I never had any ownership of Boss Management Group,
    Inc.
            7.     UAH never failed to pay its employees.
            8.     Neither William Wallis nor I authorized anyone to
    represent UAH or NFE before the IRS and propose an installment
    agreement to pay taxes or make payments under such an agreement.
            9.     UAH reported its payments to the bankruptcy court while
    it was a debtor-in-possession.       I prepared the reports.      UAH was
    required to deposit payroll withholdings into a separate tax
    account, and I made those deposits.        The UAH Chapter 11 case was
    converted to a Chapter 7 case, and a trustee appointed, on
    September 16, 2001.       The company was liquidated and the
    bankruptcy case closed after the liquidation on January 3, 2002.
            10.    I was not interviewed by Mary Bliss on January 29,
    2001.        Instead of meeting with Ms. Bliss,-UAH filed bankruptcy on
    the day that the meeting with Ms. Bliss was scheduled. Ms. Bliss
    obviously prepared her report after the bankruptcy filing,
    because her report refers to the bankruptcy filing.
            11.    Attorney Gary M. Bowman had no knowledge at the time he
    made the statement as to whether Wallis was an owner of Nitti
    Family Enterprises, Inc. during the period January 1-March 31,
    2000, which is the time relevant to this lawsuit, and Wallis was
    not an owner of Nitti Family Enterprises, Inc. during the period
    January 1-March 31, 2000. Attorney Bowman's statement in the UAH
    bankruptcy filing, referring to the two owners, referred to UAH,

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       and UFS "-had already been merged into UAH v?hen Bowman trisde. the
       statement..-.                                         •        '
           ', I'make this declaration, under penalty of perjury pursuant to
       28 U.S.C. §• 1746. .




                                       Date




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